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                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                          ACTION NO.:

  Land Trust No. 2020 Continental Avenue,
  #221, Individually and on Behalf of All
  Others Similarly Situated,

                        Plaintiff,

  v.

  Watson Realty Corp., Premiere Plus Realty
  Co.; MVP Realty Associates, LLC; Higher
  Tech Realty FL, LLC; Florida Homes Realty
  & Mortgage LLC; Downing-Frye Realty,
  Inc.; Charles Rutenberg Realty, Inc.; Smith &
  Associates Real Estate, LLC; Michael
  Saunders & Company; and DOES 1 through
  50, inclusive,

                        Defendants.


                                 CLASS ACTION COMPLAINT

                                     DEMAND FOR JURY TRIAL
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         Plaintiff Land Trust No. 2020 Continental Avenue, #221 (“Plaintiff”), individually and on

  behalf of all others similarly situated, brings this class action against the Defendants, and alleges

  as follows:

                                    NATURE OF THE LAWSUIT

         1.      This case alleges a nationwide conspiracy between the real estate broker

  Defendants and their co-conspirators, including the National Association of Realtors (“NAR”),

  to restrain trade by adopting, implementing, and enforcing anticompetitive Multiple Listing

  Service (“MLS”) rules that require Plaintiff and Class Members 1 to pay buyer broker fees and

  inflated commissions on home sales in violation of Section 1 of the Sherman Act, 15 U.S.C. §1.

         2.      Selling a home is among the most important financial decisions a person will make

  in his or her life. It can mean a family is growing and needs a larger home, a job change requires

  relocation, or a couple are retiring and looking to downsize to a smaller home. Regardless of the

  decision, selling a home is a significant financial transaction.

         3.      The vast majority of home sales in the United States involve real-estate brokers,

  costing home sellers and buyers some $100 billion in broker fees annually. 2

         4.      Plaintiff, a home seller, brings this action on behalf of itself and all others similarly

  situated against several of the largest real estate brokerages in Florida (collectively, “Defendants”)

  for conspiring to enforce anticompetitive MLS rules that cause home sellers to pay inflated

  commissions in connection with the sale of their homes.

         5.      An MLS is a database of properties listed for sale in a particular geographic region




  1
   The Class Members and Class Period are defined below in paragraph 123.
  2
   “Time to take a wrecking ball to realtors’ fees in America,” The Economist (Nov. 8, 2023),
  www.economist.com/leaders/2023/11/08/time-to-take-a-wrecking-ball-to-realtors-fees-in-
  america.



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  and accessible to real estate brokers and their realtors or agents that comply with the rules of the

  MLS.3 Brokers that are members of an MLS are required to list all properties for sale on the MLS.

         6.      The vast majority of MLSs are formally controlled by local REALTOR®4

  associations, and access to such MLSs is conditioned on brokers’ agreement to follow all

  mandatory rules set forth in the NAR Handbook, including the rules at issue herein.

         7.      To carry out the conspiracy, NAR, an unnamed co-conspirator, allows brokers

  representing or otherwise working with home sellers and home buyers to use MLSs controlled by

  NAR on the condition that those brokers agree to adhere to and help implement and enforce the

  MLS’s terms and conditions that significantly restrain competition. Specifically, NAR requires

  every listing broker (including Defendants) who lists a property on an MLS, to make a “blanket

  unilateral offer[] of compensation” to any broker who may work with a buyer in purchasing that

  property (the “buyer-broker”). This requirement, and related terms implementing the requirement

  set forth including in Policy Statement 7.23 in the NAR Handbook, is hereafter referred to as the

  “Buyer Broker Commission Rule.”

         8.      The Buyer Broker Commission Rule compels home sellers to make offers of

  payment to compensate buyer brokers even when the buyer broker is working on behalf of the

  buyer, not the seller. Furthermore, the Buyer Broker Commission Rule requires that this offer be

  a blanket offer – i.e., the exact same compensation terms must be simultaneously offered to every

  buyer broker without regard to their experience, the services they are providing to the buyer, or

  the financial arrangement they have made with the buyer.


  3
    See National Association of Realtors®, Handbook on Multiple Listing Policy (2023), available
  at              https://cdn.nar.realtor/sites/default/files/documents/pdf_mls_handbook-2023-08-
  11.pdf?_gl=1*1am0u9c*_gcl_au*OTEyNDA1NDUzLjE2OTk5MTA4Nzc (“NAR Handbook”).
  4
    The term “realtor” or “REALTOR®” is both a trademark owned by NAR and a valuable
  membership benefit that distinguishes members from all others in the real estate business.




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         9.      Because this blanket offer must be made available to every buyer broker using the

  MLS and can be compared by the buyer broker with the blanket offers that every other seller must

  post on the MLS, the Buyer Broker Commission Rule creates great pressure on sellers to offer a

  high commission that has long been maintained in this industry so that buyer-brokers will not

  “steer” buyers away from their property and to properties offering higher buyer-broker

  commissions.

         10.     The Buyer Broker Commission Rule encourages and facilitates anticompetitive

  “steering” by buyer-brokers because it allows them to compare the terms offered for buyer-broker

  compensation and steer their clients to properties where the listing broker is offering higher

  commissions. Steering is a key reason why agent commissions remain high in the United States

  during the internet era, even as commissions in other countries have plummeted. Economic

  studies and literature document and confirm the prevalence and significance of steering. 5 A recent

  academic study found systematic and nationwide evidence that buyer agents steer clients away

  from properties that offer low buyer agent commissions.6 The harm caused by actual steering is

  amplified by the perceived threat of steering.

         11.     These anticompetitive effects are reinforced by the Buyer Broker Commission

  Rule’s requirement that the offer of compensation be expressed as a percentage of the gross selling

  price of the home or a definite dollar amount and the Buyer Broker Commission Rule’s

  prohibition on “general invitations by listing [i.e., seller] brokers to other participants to discuss

  terms and conditions of possible cooperative relationships.”



  5
    See Roger P. Alford & Benjamin H. Harris, Anticompetition in Buying and Selling Homes, Cato
  Institute (2021), available at www.cato.org/regulation/summer-2021/anticompetition-buying-
  selling-homes.
  6
    See Jordan Barry, Will Fried & John William Hatfield, Et Tu, Agent? Commission-Based Steering
  in Residential Real Estate (Oct. 9, 2023), available at https://ssrn.com/abstract=4596391.



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         12.     These anticompetitive effects are further reinforced by NAR’s rules providing that

  after the seller has received purchase offers, the listing broker is prohibited from attempting to

  unilaterally modify the buyer-broker commission that was offered on the MLS. NAR Standard of

  Practice 3-2 states:

                 Any change in compensation offered for cooperative services must
                 be communicated to the other REALTOR® prior to the time that
                 REALTOR® submits an offer to purchase/lease the property. After
                 a REALTOR® has submitted an offer to purchase or lease property,
                 the listing broker may not attempt to unilaterally modify the offered
                 compensation with respect to that cooperative transaction.

         13.     NAR requires its members that own and operate an MLS to comply with the

  mandatory provisions in the NAR Handbook and Code of Ethics. Failure to strictly comply with

  the Code of Ethics can lead to expulsion from NAR:

                 Any Member Board which shall neglect or refuse to maintain and
                 enforce the Code of Ethics with respect to the business activities of
                 its members may, after due notice and opportunity for hearing, be
                 expelled by the Board of Directors from membership in the National
                 Association.7
         14.     NAR further penalizes and discourages potential non-compliance with the Buyer

  Broker Commission Rule by withholding professional liability insurance from any associations

  operating under any bylaws or rules that are not approved by NAR. 8

         15.     NAR reviews the governing documents of its local realtor associations to ensure

  compliance with NAR rules. NAR further requires its local realtor associations to demonstrate

  their compliance with these rules by periodically sending their governing documents to NAR for

  review.9


  7
    National Association of Realtors®, Code of Ethics and Arbitration Manual 2019, at 1, available
  at www.nar.realtor/sites/default/files/documents/2019-CEAM.pdf.
  8
    NAR Handbook, at 8.
  9
    Only a small percentage of MLSs are not exclusively owned or operated by NAR and its
  affiliated realtor associations. These MLSs are nevertheless typically controlled by REALTOR®



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          16.      Upon information and belief, franchise agreements between the Defendants and

  their franchisees require those franchisees and their agents to: (a) comply with NAR’s Code of

  Ethics; (b) join and comply with the rules of the local realtor association; and (c) participate in

  and comply with the rules of the local MLS, which include the mandatory rules in the NAR

  Handbook.

          17.      Executives of the Defendants real estate broker firms have actively participated in

  the management, operations and governance of NAR and local and regional NAR affiliates.

  Through these positions, they have facilitated the conspiracy’s implementation by enforcing

  compliance with the Buyer Broker Commission Rule while also instituting standard form

  contracts to insure enforcement of NAR mandates.

          18.      Each Defendant assists NAR with ensuring compliance with the NAR rules. Local

  realtor associations and the NAR Board of Directors are responsible for the enforcement of NAR’s

  MLS rules and regulations. As detailed herein, representatives from Defendants serve on NAR’s

  Board of Directors and the boards of local realtor associations and/or are actively involved with

  local realtor associations.

          19.      The Defendants and co-conspirators have joined the Florida MLSs and

  participated in their governance through the boards of Florida Realtors and local realtor

  associations and MLSs. The Defendants, Florida REALTORs®, and the co-conspirators have

  maintained, enforced, and adhered to the Florida Realtor MLSs anticompetitive rules, policies,

  and practices.

          20.      Each Defendant also has agreed to participate in, implement, or facilitate the



  associations and or NAR-aligned brokerages and promulgate rules similar to the Buyer Broker
  Commission Rule.




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  conspiracy by imposing NAR’s rules, including the Buyer Broker Commission Rule, on its

  franchisees, affiliates, and realtors. Each Defendant mandated or encouraged its franchisees,

  affiliates, and realtors to join NAR and follow NAR’s Code of Ethics and join a local realtor

  association or MLS, which requires compliance with the Buyer Broker Commission Rule. Each

  Defendant requires its realtors and franchisees to abide by NAR rules as a condition of doing

  business with the broker Defendants, and to secure the benefits of the Defendants’ brands,

  infrastructure, and other resources that support their brokerage operations.

         21.     Both NAR’s Handbook and its Code of Ethics were drafted, developed, and

  promulgated by the NAR Board of Directors or NAR’s Professional Standards Committee. The

  Defendants use their leadership roles in NAR or local realtor associations to implement the

  conspiracy.

         22.     By enforcing the Buyer Broker Commission Rule and the related Standards of

  Practice rule through NAR or local realtor association leadership, imposing the Buyer Broker

  Commission Rule on local realtor associations and MLSs, and requiring franchisees, realtors, and

  other affiliates to join NAR, local realtor associations and MLSs, and comply with their rules,

  each Defendant has agreed to participate in the conspiracy.

         23.     The Defendants’ conspiracy has burdened home sellers with costs that would

  either not exist or be paid by buyers in a competitive market. Furthermore, because most buyer-

  brokers will not show homes to their clients where the seller is offering a lower buyer-broker

  commission, or will show homes with higher commission offers first, sellers are incentivized

  when making required blanket offers to procure the buyer-brokers’ cooperation by offering high

  commissions. Thus, the conspiracy: (a) requires sellers to pay overcharges for services provided

  by buyer-brokers; (b) raises, fixes and maintains buyer-broker compensation at levels that would




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  not exist in a competitive marketplace; and (c) encourages and facilitates steering and other

  actions that impede entry and market success by lower-cost real estate brokerage services.

         24.     Absent the Buyer Broker Commission Rule, buyers would have the incentive to

  set and negotiate buyer broker pricing (where such brokers are used at all), and buyer brokers

  would compete to be retained by offering lower commissions to their prospective clients for their

  services. The Buyer Broker Commission Rule restrains price competition among buyer brokers

  because the clients retaining the buyer broker, i.e., home buyers, have little incentive or ability to

  reduce their broker’s commission because they are not paying the commissions.

         25.     In a competitive market, sellers would pay nothing to buyer brokers, who would

  instead be paid by the buyers (their clients), and the total commission paid by a seller would be

  set at a level to compensate only the seller’s broker. In a competitive market, buyer brokers would

  also compete with one another, including by potentially offering a lower commission rate. Indeed,

  in competitive foreign markets, including the United Kingdom, Germany, Israel, Australia, and

  New Zealand, if home buyers decide to use a broker, they (rather than home sellers) pay that

  broker less than half the rate paid to buyer brokers in California.

         26.     A 2015 report commissioned by the NAR to study negative emerging trends in the

  real estate industry highlighted concerns that total commissions in the United States are inflated

  compared to various international markets. According to this report, the average total

  commissions range between 1% and 3% in countries such as the United Kingdom, Singapore, the

  Netherlands, Australia, and Belgium.10

         27.     Many home buyers no longer require the help of a broker to search for prospective



  10
    Swanepoel Group, D.A.N.G.E.R Report, at 22 (definitive analysis of negative game changers
  emerging in real estate) (2015). The report also suggests that total commissions in Germany range
  between 3% and 6%.



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  homes. Instead, buyers can start their search process by using online services such as Zillow or

  Redfin and are increasingly retaining a buyer broker after having already found a target home.

         28.     Despite the diminishing role of buyer brokers, commissions for buyer brokers have

  held steady in the 2.5% to 3% range because of conspiracy alleged herein. Furthermore, because

  housing prices significantly increased during the Class Period and because commissions are

  calculated as a percentage of the home’s sales price, the actual dollar amounts of buyer

  commissions substantially increased during the Class Period. Thus, the dollar amount of

  commissions is increasing at the same time the work done by buyer brokers is decreasing.

         29.     Although transaction costs are dramatically decreasing in other sectors and

  industries that benefit from technological advances, real estate commission rates have persisted

  generally in the 5% to 6% range. Because these commissions are set via blanket offers agreed to

  prior to a home being listed, buyer brokers receive the same percentage amount regardless of their

  efforts, thereby stifling competition.

         30.     Because buyer brokers will not show homes to their clients where the seller broker

  is offering a lower buyer-broker commission or will show such homes later in the search process,

  seller brokers face pressure in making their unilateral blanket offers to provide high commissions

  to buyer brokers.

         31.     Moreover, in the absence of the Buyer Broker Commission Rule, seller brokers

  would likely face additional competitive pressures. Instead of following the long-time practice of

  setting total commissions at or near 5% to 6%, and assigning roughly half of that amount to

  themselves and roughly the other half to the buyer broker (and selecting that amount at a level to

  remain in the good graces of buyer brokers), seller brokers would set a commission to pay

  themselves alone and would likely begin to engage in more vigorous competition with one another




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   to lower their rates and/or provide additional services to justify their rates.

           32.      The Defendants’ conspiracy has inflated buyer-broker commissions, which, in

   turn, have inflated the total commissions paid by home sellers such as Plaintiff and other home

   sellers. Plaintiff and the other class members have each incurred, on average, thousands of dollars

   in overcharges as a result of the Defendants’ conspiracy. In a competitive market, buyers would

   have the incentive to set and negotiate buyer-broker prices, and the total commissions paid in any

   transaction, including the commissions paid by sellers would be lower.

           33.      Plaintiff, on behalf of itself and a class of others similarly situated, brings this suit

   for damages caused by the Defendants’ violations of the Sherman Act as alleged herein, and seek

   treble damages and the costs of this lawsuit, including reasonable attorneys’ fees, and demands a

   trial by jury.

                                      JURISDICTION AND VENUE

           34.      This Court has subject matter jurisdiction under 28 U.S.C. §1332(d)(2), because

   the classes contain more than 100 persons, the aggregate amount in controversy exceeds

   $5,000,000, and at least one member of each class is a citizen of a State different from Defendants.

   The Court also has subject matter jurisdiction over this action pursuant to 15 U.S.C. §§ 4, 16 and

   28 U.S.C. §§ 1331, 1337.

           35.      This Court has personal jurisdiction over the Defendants. Defendants have (1)

   transacted substantial business in the United States, including in this District; (2) transacted

   business with members of the Class throughout the United States, including in this District; (3)

   had substantial contacts with the United States, including in this District, and/or (4) committed

   substantial acts in furtherance of their unlawful scheme in the United States, including in this

   District.




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           36.     Venue is proper in this District under 15 U.S.C. § 22 and 28 U.S.C. §1391(b), (c),

   and (d). The Defendants have transacted business, have been found, had agents in and/or resided in

   this District; a substantial part of the events giving rise to the class’s claims arose in this District;

   and a substantial portion of the affected interstate trade and commerce described herein has been

   carried out in this District.

                                                  PARTIES

           A.      Plaintiff

           37.     Plaintiff Land Trust 2020 Continental Avenue, #221, sold a home located in

   Tallahassee, Florida, in August 2022. Plaintiff’s home was listed for sale on the Tallahassee Board

   of Realtors MLS. Upon closing the sale of the home, Plaintiff paid 6% in realtor commissions:

   3% to the seller’s agent and 3% to the buyer’s agent.

           38.     As set forth herein, Defendants’ unlawful conduct and conspiracy caused Plaintiff

   to pay a buyer-broker commission and artificially increased the amount of the total commission

   to a rate higher than it would have been in a competitive market.

           B.      Defendants

           39.     Defendant Watson Realty Corp. (“Watson Realty”) is a “full-service real estate

   brokerage firm” that serves Northeast Florida, Central Florida and Southeast Georgia with over

   1400 sales associates in more than 50 offices. It is a privately held Florida corporation

   headquartered in Jacksonville and is one of the nation’s largest independent real estate companies.

           40.     Defendant Premiere Plus Realty Co. (“Premiere Plus Realty”) is a privately owned

   real estate company serving Southwest Florida with over 1500 professional agents and six staffed

   locations. In 2023, Premiere Plus closed around 5000 transactions and had nearly $3 billion in

   sales. It is a Florida corporation headquartered in Naples.




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          41.     Defendant MVP Realty Associates, LLC (“MVP Realty”) is a privately owned

   full-service real estate brokerage with over 1200 Realtors spread over 22 offices throughout the

   state of Florida. In 2023, MVP Realty had over $2 billion in sales and closed a little over 6000

   transactions. It is a Florida limited liability company headquartered in Naples.

          42.     Defendant Higher Tech Realty FL, LLC (“Higher Tech Realty FL”) is a Florida

   limited liability company headquartered in Maitland, Florida and doing business as Mark Spain

   Realty, the “#1 Real Estate Team in the US for Closed Transactions” according to the Wall Street

   Journal and Real Trends. It has offices in Tampa and Orlando.

          43.     Defendant Florida Homes Realty & Mortgage, LLC (“Florida Homes Realty”) is

   the largest single-broker firm in Northeast Florida with over 2700 agents across the state. It is a

   limited liability company headquartered in Jacksonville.

          44.     Defendant Downing-Frye Realty, Inc. (“Downing-Frye Realty”) has served

   southwest Florida for over 50 years and consistently ranks amongst the top 100 real estate offices

   in the United State based on sales volume. It is a Florida corporation headquartered in Naples.

          45.     Defendant Charles Rutenberg Realty, Inc. (“Charles Rutenberg Realty”) serves the

   Tampa Bay area with over 2500 agents spread across west-central Florida. It is a Florida

   corporation headquartered in Clearwater, Florida.

          46.     Defendant Smith & Associates Real Estate, LLC (“Smith Real Estate”) employs

   over 250 agents spread across five offices throughout the Tampa Bay area. It is a Florida limited

   liability company headquartered in Tampa and had $2.15 billion in total volume in 2022, selling

   nearly 2400 properties.

          47.     Defendant Michael Saunders & Company (“Michael Saunders”) “is the number

   one real estate broker in Southwest Florida” and a multi-billion-dollar business with over 20




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   branch offices and over 600 agents throughout the region. It is a Florida company headquartered

   in Sarasota.

          48.     Doe Defendants 1-50 are members of the conspiracy alleged herein whose

   identities are presently unknown to Plaintiff. These include, among other entities, other local

   realtor associations and real estate brokers who agreed to implement the Buyer Broker

   Commission Rule when listing homes for sale on an MLS. Plaintiff expects that the identity of

   these Doe Defendants will be revealed during discovery, at which point Plaintiff will seek leave

   to amend the complaint to add those entities in place of the Doe Defendants.

          C.      NAR and Unnamed Co-Conspirators

          49.     In addition to the named Defendants, NAR participated as a co-conspirator in the

   conspiracy alleged herein. NAR describes itself as “America’s largest trade association,

   representing 1.5 million+ members, including NAR’s institutes, societies, and councils, involved

   in all aspects of the residential and commercial real estate industries.” 11 During the Class Period,

   NAR collected hundreds of millions of dollars in dues and membership fees. NAR oversees fifty-

   four state and territorial realtor associations and approximately 1,200 local realtor associations. 12

          50.     Each of NAR’s 1.5 million + members pay annual dues of $150, thus generating

   annual revenue of approximately $240 million for NAR.

          51.     Keller Williams Realty, Inc. (“Keller Williams”) participated as a co-conspirator

   in the conspiracy alleged herein. Keller Williams is one of the nation’s largest real estate

   brokerages. Headquartered in Austin, Texas, Keller Williams is a privately held company. It




   11
        National     Association    of  Realtors®,   NAR       Fact            Sheet,    available     at
   www.nar.realtor/newsroom/nar-fact-sheet.
   12
      About Florida Realtors, FLORIDAREALTORS.ORG, Feb. 15, 2024,
   www.floridarealtors.org/about.



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   franchises local Keller Williams brokers around the country, which have approximately 700

   offices and more than 120,000 sales associates.

           52.     Anywhere Real Estate Inc. (“Anywhere Real Estate”), formerly known as Realogy

   Holdings Corp., participated as a co-conspirator in the conspiracy alleged herein. Anywhere Real

   Estate is the nation’s largest real estate brokerage company. Headquartered in Madison, New

   Jersey, Anywhere Real Estate is a publicly traded corporation with a market value of over $4

   billion. It owns, operates, and franchises real estate brokerage firms, including Century 21,

   Coldwell Banker, Sotheby’s International Realty, The Corcoran Group, Better Homes and Garden

   Real Estate, ZipRealty, ERA Real Estate, Citi Habitats, and Climb Real Estate.

           53.     RE/MAX Holdings, Inc. (“RE/MAX”) participated as a co-conspirator in the

   conspiracy alleged herein. RE/MAX is one of the nation’s largest real estate brokerages. It is

   headquartered in Denver, Colorado. RE/MAX is publicly traded and has a market value of

   approximately one billion dollars. It franchises local RE/MAX brokers around the country, which

   have approximately 6,800 offices and more than 100,000 sales associates.

           54.     Realty ONE Group, Inc. (“Realty ONE”) participated as a co-conspirator in the

   conspiracy alleged herein. Realty ONE is a real estate brokerage and franchising company

   headquartered in California and incorporated in Nevada. The company operates in 49 states,

   Washington D.C., and sixteen countries and territories with over 19,000 agents. The company

   and/or its franchisees transacts substantial business in this district.

           55.     Multiple franchisees and local brokers affiliated with the Corporate Defendants

   participated as co-conspirators in the conspiracy alleged herein and performed acts and made

   statements in furtherance thereof.

           56.     Local realtor associations and MLSs not named as Defendants also participated as




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   co-conspirators in conspiracy alleged herein and performed acts and made statements in

   furtherance thereof by adopting the Buyer Broker Compensation Rule or a similar rule.

           57.     Defendants are jointly and severally liable for the acts of their co-conspirators,

   whether or not those co-conspirators are named as Defendants in this Complaint.

                                         FACTUAL ALLEGATIONS

   I.      Real Estate Industry Background

           58.     State licensing laws regulate who can represent buyers and sellers in real estate

   transactions. There are two categories of licensees: (1) the real estate broker, also known as a

   “brokerage firm,” and (2) the individual real estate licensee or agent. Brokerage firms license

   individual real estate realtors or agents and are legally responsible for the actions of their licensed

   realtors or agents.

           59.     Licensed brokers are the only entities permitted by state law to be paid for

   representing buyers or sellers in a real estate transaction. This explains why real estate brokerage

   contracts with sellers and buyers are required to be with brokers, not agents, and all payments to

   individual realtors or agents pass through the brokers.

           60.     Most brokers and their individual realtors or agents occupy dual roles: a broker

   may act as a seller broker for some home sales and as a buyer broker for other home sales.

           61.     According to NAR, 89% of sellers sold their home with the assistance of a real

   estate agent in 2023, and 89% of buyers purchased their home with the assistance of a real estate

   agent or broker in 2023.13

           62.     In typical residential real estate transactions, real estate brokers and agents receive



   13
     National Association of Realtors®, Highlights From the Profile of Home Buyers and Sellers
   (2023), available at www.nar.realtor/research-and-statistics/research-reports/highlights-from-the-
   profile-of-home-buyers-and-sellers



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   their compensation through commissions that are calculated as a percentage of a home’s sale

   price, and the commissions are paid when the home is sold.

            63.   A seller broker’s compensation is set forth in a listing agreement, a contract

   between the seller and the seller broker. The listing agreement includes the terms of the listing

   and often provides that the seller broker has the exclusive right to market the seller’s home.

            64.   Home buyers retain brokers pursuant to written contracts that typically disclose

   that the buyer broker will be compensated by receiving a commission from the seller. The seller

   broker then pays the buyer broker a commission out of the total commission paid by the seller in

   connection with the home sale.

            65.   The NAR Handbook and Code of Ethics require residential real estate sellers to

   make a blanket, unilateral, and effectively non-negotiable offer of compensation to any Buyer’s

   Broker whenever listing a home on any MLS owned or controlled by a local NAR association. If

   a buyer, represented by a buyer broker, purchases residential real estate, under such a non-

   negotiable offer of compensation, then the buyer broker receives the offered compensation as

   outlined in the listing agreement. This is described in the NAR Handbook Section 2-G-1 which

   provides, in relevant part:

                  In filing a property with the multiple listing service of an association
                  of Realtors®, the participant of the service is making blanket
                  unilateral offers of compensation to the other MLS participants, and
                  shall therefore specify on each listing filed with the service, the
                  compensation being offered to the other MLS participants. 14

            66.   The NAR Handbook further states that “[m]ultiple listing services shall not publish

   listings that do not include an offer of compensation expressed as a percentage of the gross selling

   price or as a definite dollar amount, nor shall they include general invitations by listing brokers



   14
        NAR Handbook, at 69.



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   to other participants to discuss terms and conditions of possible cooperative relationships.” 15

          67.     The NAR Board of Directors, and the committees reporting to it, determine from

   time to time whether to modify any policies in the NAR Handbook and has approved certain

   changes in recent years.

          68.     Section 2-G-1 shifts a cost to the seller that would otherwise be paid by the buyer

   in a competitive market. As The Wall Street Journal opined, the result is that home sellers are

   effectively required to hire a buyer broker if they wish to list their home on an MLS, which

   requires the services of a seller broker, and that this system is a violation of “the Sherman Anti-

   Trust [sic] Act that keeps buying agents paid though they offer almost no useful services.” 16

          69.     Section 2-G-1’s requirement that the seller broker make a blanket, unilateral offer

   provides an incentive for seller brokers to cooperate with buyer brokers by offering a high

   commission for the buyer broker. Brokers often act as a selling broker in one transaction but

   as a buyer broker in another, which further contributes to the anticompetitive effects of the rule in

   that it fosters an environment in which brokers work cooperatively to split a total commission,

   instead of openly competing to earn the business of both potential home sellers and potential

   home buyers based solely on the services to be provided to that represented party.

          70.     To foreclose the possibility that a buyer might seek to reduce his, her, or their

   broker’s commission by making that reduction a condition of a purchase offer, NAR adopted

   Standard Practice 16-16:

                  REALTORS, acting as subagents or buyer/tenant representatives or
                  brokers, shall not use the terms of an offer to purchase/lease to
                  attempt to modify the listing broker’s offer of compensation to


   15
     Id., at 40.
   16
     Jack Ryan & Jonathan Friedland, When You Buy or Sell a Home, Realty Bites, WALL ST. J.
   (Mar. 3, 2019), available at www.wsj.com/articles/when-you-buy-or-sell-a-home-realty-bites-
   11551649734.



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                  subagents or buyer/tenant representatives or brokers nor make the
                  submission of an executed offer to purchase/lease contingent on the
                  listing broker’s agreement to modify the offer of compensation. 17

   In other words, a buyer-broker offer to a seller that is conditional on the seller reducing the

   buyer-broker commission expressly violates NAR’s ethics rules.

   II.    Litigation Concerning NAR’s Rules

          71.     In 2019, a class action was filed against NAR and real estate brokers in the Western

   District of Missouri alleging that NAR rules violate the Sherman Act by inflating home seller

   commission rates. Burnett et al v. National Association of Realtors, et al., Civil Action No. 4:19-

   cv-00332-SRB (W.D. Mo.). The defendants’ motion to dismiss was denied in October 2020, and

   the class was certified in April 2022.

          72.     On December 16, 2022, the court denied the motions for summary judgment and

   trial commenced on October 16, 2023.

          73.     The case proceeded to trial and, on October 31, 2023, a jury found that a

   conspiracy existed among Defendants NAR, HomeServices of America, BHH Affiliates, HSF

   Affiliates, Keller Williams, Anywhere Real Estate, and RE/MAX to follow and enforce the

   NAR’s rules, that the conspiracy had the effect of raising, inflating or stabilizing broker

   commission rates paid by home sellers in violation of the Sherman Act, that the Class members

   paid more for real estate brokerage services than they would have absent the conspiracy, and

   awarded over $1.7 billion in damages.

          74.     In March 2024, NAR agreed to waive its right to appeal the jury verdict and settled

   for $418 million and injunctive relief that included eliminating its anticompetitive rules, including



   17
     National Association of Realtors®, Code of Ethics and Standard of Practice (Jan. 1, 2023),
   available at https://cdn.nar.realtor/sites/default/files/documents/2023-coe-standards-of-practice-
   2022-12-28.pdf?_gl=1*1lnx2bs*_gcl_au*MTMwMTE3OTY5NC4xNjk5MDc2ODI2



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   the Buyer Broker Commission Rule.

          75.     Keller Williams reached a settlement of $70 million and agreed to implement the

   injunctive relief set forth in the NAR settlement agreement.

          76.     RE/MAX reached a settlement of $55 million and agreed to implement the

   injunctive relief set forth in the NAR settlement agreement.

          77.     Anywhere reached a settlement of $83.5 million and agreed to implement the

   injunctive relief set forth in the NAR settlement agreement.

          78.     In April 2024, Realty ONE reached a settlement of $5 million in Gibson, et al. v.

   National Association of Realtors, Case No. 23-CV-788 (SRB) (W.D. Mo.) and agreed to

   implement the same injunctive relief as set forth in the NAR settlement agreement.

   III.   Defendants’ Participation in the Conspiracy

          79.     In 1992, NAR adopted the Buyer Broker Commission Rule as part of the NAR

   Handbook.

          80.     The NAR Board of Directors, and the Multiple Listing Issues and Policies

   Committee reporting to it, periodically determine whether to modify any policies in the NAR

   Handbook. The policies that are retained and any modification to them are set forth in new

   editions of the NAR Handbook that are issued on or about an annual basis. The NAR Handbook

   has consistently and repeatedly retained the Buyer Broker Commission Rule in revised versions.

          81.     In setting forth the MLS terms, NAR allows Defendants and other co-conspirators

   to participate in the MLS and to gain the benefits provided by NAR and the MLS but only on the

   condition that they join the conspiracy and agree to follow and enforce the anticompetitive

   restrains set forth in the NAR Handbook.

          82.     The NAR’s Handbook states that “Association and Association-owned MLSs




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   must conform their governing documents to the mandatory MLS policies established by the

   National Association’s Board of Directors to ensure continued status as members boards and to

   ensure coverage under the master professional liability insurance program.” 18

          83.     The Buyer Broker Commission Rule is set forth in the NAR Handbook:
                  “In filing a property with the multiple listing services of an
                  association of REALTORS®, the participant of the service is
                  making blanket unilateral offers of compensation to the other MLS
                  participants, and shall therefore specify on each listing filed with the
                  service, the compensation being offered to the other MLS
                  participants.”19

                  The NAR Handbook further states that:

                  Multiple listing services shall not publish listings that do not include
                  an offer of compensation expressed as a percentage of the gross
                  selling price or as a definite dollar amount, nor shall they include
                  general invitations by listing brokers to other participants to discuss
                  terms and conditions of possible cooperative relationships.” 20

          84.     Several Florida MLSs have adopted the Buyer Broker Commission Rule. Stellar

   MLS, which is a multiple listing service representing Orlando, Tampa, and other areas of Central

   Florida, as well as Puerto Rico, has adopted the Buyer Broker Commission Rule verbatim. 21

          85.     Miami Association of Realtors, Inc. Multiple Listing Service, which serves the

   Miami-Dade, Broward, Palm Beach and Martin counties, adopted a rule identical to the Buyer

   Broker Commission Rule, requiring listings to include blanket offers of compensation listed as a

   percentage of the gross sale or definite dollar amount. 22



   18
      NAR Handbook, at iii.
   19
      Id., at 118.
   20
      Id., at 40.
   21
         See Stellar MLS Rules and Regulations (2023), at 37, available at
   https://rulespdf.stellarmls.com/
   22
      See Miami Association of Realtors, Inc. Multiple Listing Service, Policies and Procedures -
   Rules and Regulations (2023), at 28-29, available at www.miamirealtors.com/wp-
   content/uploads/bsk-pdf-manager/2020/04/mls-rules-and-regulations.pdf



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          86.     Upon information and belief, the Northeast Florida Multiple Listing Service, Inc.,

   which serves Duval, Clay, St. John’s, Nassau and Putnam counties, has adopted a rule similar or

   equivalent to the Buyer Broker Commission Rule.

          87.     M.L.S. of Naples, Inc., which serves Collier County, adopted a rule stating: “The

   compensation specified on listings published by the MLS shall be shown either as a percentage

   of the gross selling price or as a definite dollar amount.”23

          88.     Central Panhandle Association of Realtors, which serves serving the Bay,

   Calhoun, Washington, Holmes and Jackson counties, states, a adopted a rule identical to the Buyer

   Broker Commission Rule, and which further states: “A compensation amount must be stated in

   the clause placed in the Relator® Remarks.” 24

          89.     The Buyer Broker Commission Rule and the Florida MLS rules cited above shift

   a cost to the seller that would be negotiated and set by the buyer in a competitive market. As the

   Consumer Federation of America has explained, “[i]n a rational pricing system, home sellers and

   buyers would each pay for real estate brokerage services they receive.” 25

          90.     The Defendants have agreed to adopt, implement, and enforce the Buyer Broker

   Commission Rule on their affiliated franchisees, brokers, and employees. By participating in an

   association which prevents members from allowing their associates to compete with one another

   for commissions, and by agreeing to follow and enforce these anticompetitive rules, the




   23
      See M.L.S. of Naples, Inc. Multiple Listing Service Rules and Regulations (2023), at 24,
   available at www.nabor.com/page-data/files/pages/realtor-tools/mls-resources/mls-Rules-08-25-
   2023.pdf
   24
      See Central Panhandle Association of Realtors®, Multiple Listing Service Rules (2023), at 24,
   available at www.cpar.us/clientuploads/MLS/CPAR_MLS_Rules_and_Regulations_2023.pdf
   25
      Stephen Brobeck, Residential Real Estate Brokerage Services: A Cockamamie System That
   Restricts Competition and Consumer Choice, C ONSUMER FEDERATION OF AMERICA, 4 (2006),
   http://archives-financialservices.house.gov/media/pdf/072506sb.pdf.



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   Defendants joined the conspiracy and acted to further its implementation and enforcement.

          91.     The Buyer Broker Commission Rule imposes a financial overcharge on sellers by

   requiring them to make a “blanket unilateral offer of compensation” to the buyer broker as a

   condition of listing their home on the MLS. As a result, listing brokers must make “blanket,

   unilateral, unconditional offers of compensation to their adversarial buyer brokers. Every MLS in

   the U.S. requires that listing brokers offer compensation to buyer brokers.” 26

          92.     The Defendants implemented the conspiracy by requiring and/or encouraging their

   and franchisees’ agents and realtors to comply with NAR’s rules.

          93.     Upon information and belief, franchise agreements between the Defendants and

   their franchisees require those franchisees and their agents to: (a) comply with NAR’s Code of

   Ethics; (b) join and comply with the rules of the local realtor association; and (c) participate in

   and comply with the rules of the local MLS, which include the mandatory rules in the NAR

   Handbook.

          94.     Upon information and belief, NAR scrutinized the governing documents of its

   local realtor associations, especially those in the MLSs, to affirm adherence to NAR regulations.

   To achieve this, the local NAR affiliates had to submit their governing documents to NAR for a

   compliance evaluation from time to time.

          95.     Executives from the Defendants have actively participated in the management,

   operations and governance of NAR, local Florida Realtor associations, and local and regional

   NAR affiliates. Through these positions, they have facilitated the conspiracy’s implementation

   by enforcing compliance with the Buyer Broker Commission Rule, while also instituting standard



   26
     Dougles R. Miller, Letter to DOJ/FTC, CONSUMER ADVOCATES IN AMERICAN REAL
   ESTATE (CAARE), 5 (2018),
   www.ftc.gov/system/files/documents/public_coments/2018/07/00052-147606.pdf.



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   form contracts to insure enforcement of NAR mandates. For example:

                         (a)     Watson Realty: Watson Realty actively touts its Executive

                                 Management Team’s experience serving in leadership roles in

                                 several local, regional, and national realtor associations.27 A broker

                                 affiliated with Watson Realty’s Orange Park, Florida, office is a

                                 2024-25 Director of the Northeast Florida Association of Realtors.

                                 Similarly, a Watson Realty agent is a 2024-25 Director of the

                                 Northeast Florida Association of Realtors.28 Other agents have

                                 served in leadership roles in the Northeast Florida Association of

                                 Realtors and RealMLS.

                         (b)     Premiere Plus Realty: Agents of Premier Plus Realty serve on the

                                 Board of Directors for the Marco Island Area Association of

                                 Realtors.

                         (c)     MVP Realty: An MVP Realty agent is currently the President of

                                 the Bonita Springs-Estero Realtors Association. Another has been a

                                 director of the Naples Area Board of Realtors since 2021 and has

                                 also served as the co-chair of the Naples Realtors Political Action

                                 Committee since 2013.

                         (d)     Higher Tech Realty FL: Higher Tech Realty FL is a member of

                                 the Space Coast Association of Realtors.




   27
      Watson Realty Corp. Executive Management Team, WATSONREALTYCORP.COM,
   www.watsonrealtycorp.com/executive-management-team/ (last accessed July 3, 2024).
   28
      Your NEFAR Leadership, NEFAR, https://nefar.realtor/officers-directors/ (last accessed July 3,
   2024).



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                           (e)    Florida Homes Realty: Florida Homes Realty is a member of 23

                                  different regional NAR associations and MLS Boards in the State of

                                  Florida.

                           (f)    Downing-Frye Realty: The managing broker of Downing-Frye

                                  Realty’s Naples office was a former director representing Florida in

                                  NAR, a Board member and past President of the Naples Area Board

                                  of Realtors, and a Board member and past Chair of the Florida

                                  Realtors Association.

                           (g)    Charles Rutenberg Realty: An agent is on the 2024 Board of

                                  Directors of the Florida Realtors Association.

                           (h)    Smith Real Estate: The President and CEO is a past President of

                                  the Tampa Association of Realtors.

                           (i)    Michael Saunders: The President served as President of the 2022-

                                  2023 Stellar MLS Board of Directors, the third largest MLS in the

                                  nation and the largest in Florida, and previously served as that

                                  Board’s Vice President.

          96.     Each Defendant assists NAR with ensuring compliance with the NAR rules. Local

   realtor associations and the NAR Board of Directors are responsible for the enforcement of NAR’s

   MLS rules and regulations. As noted above, representatives from Defendants serve on NAR’s

   Board of Directors, the Boards of local realtor associations and/or are actively involved with local

   realtor associations.

          97.     The Defendants and co-conspirators have joined the Florida MLSs and

   participated in their governance through the boards of Florida Realtors and local realtor




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   associations and MLSs. The Defendants, the Florida Realtors, and co-conspirators have

   maintained, enforced, and adhered to the Florida Realtor MLSs anticompetitive rules, policies,

   and practices.

          98.       Each Defendant has also agreed to participate in, implement, and/or facilitate the

   conspiracy by imposing NAR’s rules, including the Buyer Broker Commission Rule, on its

   franchisees, affiliates, and realtors. Each Defendant mandated or encouraged its franchisees,

   affiliates, and realtors to join NAR and follow NAR’s Code of Ethics and join a local realtor

   association and/or MLS, which requires compliance with the Buyer Broker Commission Rule and

   the other anticompetitive NAR Standards of Practice. Each Defendant requires its realtors and

   franchisees to abide by NAR rules as a condition of doing business with the broker Defendants,

   and to secure the benefits of the Defendants’ brands, infrastructure, and other resources that

   support their brokerage operations.

          99.       Both NAR’s Handbook and its Code of Ethics were drafted, developed, and

   promulgated by the NAR Board of Directors or NAR’s Professional Standards Committee. The

   Defendants use their leadership roles in NAR or local realtor associations to implement the

   conspiracy.

          100.      By enforcing the Buyer Broker Commission Rule and the related Standards of

   Practice rule through NAR or local realtor association leadership, imposing the Buyer Broker

   Commission Rule on local realtor associations and MLSs, and requiring franchisees, realtors, and

   other affiliates to join NAR, local realtor associations and MLSs, and comply with their rules,

   each Defendant has agreed to participate in and implemented and/or facilitated the conspiracy.

                      ANTICOMPETITIVE EFFECTS OF THE CONSPIRACY

          101.      Defendants’ conspiracy has had the following anticompetitive effects nationwide:




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                         (a)    Class Members paid inflated buyer broker commissions and inflated

                                total commissions.

                         (b)    Class Members were forced to pay commissions to buyer brokers,

                                thereby substantially inflating the cost of selling their homes.

                         (c)    Class Members were compelled to pay high buyer broker

                                commissions to induce buyer brokers to show their homes to the

                                buyer brokers’ clients.

                         (d)    The retention of a buyer broker was severed from the setting of the

                                broker’s commission; the home buyer retained the buyer broker,

                                while the home seller’s agent sets the buyer broker’s compensation.

                         (e)    Price competition among brokers to be retained by home buyers

                                was restrained, as was price competition among brokers seeking to

                                be retained to sell homes.

                         (f)    Competition among home buyers was restrained by their inability

                                to lower buyer-broker commissions.

                         (g)    The Defendants profited from inflated buyer-broker commissions

                                and inflated total commissions.

          102.   There are no pro-competitive effects of the Defendants’ conspiracy.

          103.   Even if any alleged pro-competitive effects exist, they are substantially

   outweighed by the anticompetitive effects of the Defendants’ conspiracy.

          104.   Economic evidence shows that Defendants’ conspiracy has resulted in inflated

   total commissions and inflated buyer-broker commissions paid by Class Members, at levels above

   what would be paid in a competitive market. Economists Natalya Delcoure and Norm Miller




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   compared international real estate commissions with those in the United States, 29 and concluded

   the following:

                    Globally, we see much lower residential commission rates in most
                    of the other highly industrialized nations, including the United
                    Kingdom (UK), Hong Kong, Ireland, Singapore, Australia, and New
                    Zealand . . . . In the UK, the [total] commission rates average less
                    than 2%. . . . In New Zealand and South Africa, [total] commission
                    rates average 3.14%. In Singapore, the [total] commission rates also
                    tend to run around 3%.30

   They also found variation within countries. For example, in the UK, they found that “1%-2% is

   typical” for total broker commissions, but that in “very competitive areas” the total rates ranged

   between “0.5-0.75%” whereas in lower priced areas the range was “as high as 3.5%.” 31

   Ultimately, the economists concluded that, “based on global data, the [total] US residential

   brokerage fees should run closer to 3.0%.” 32

          105.      In comparison, the total broker commissions (i.e., the aggregate commission paid

   to the seller and buyer brokers) in most areas of the United Staes average between 5% and 6%,

   with buyer broker commissions by themselves holding steady in a range between 2.5% and 3%.

   These numbers have remained stable despite both rising home prices and the decreasing role of

   the buyer broker during a time when many prospective home buyers have already scoured the

   market through online real estate marketplaces.

          106.      The Buyer Broker Commission Rule encourages and facilitates anticompetitive

   steering away from brokers who deviate from the standard commission practices and rates. They

   enable buyer brokers to identify and compare the buyer-broker compensation offered by every



   29
      See Natalya Delcoure & Norm G. Miller, International Residential Real Estate Brokerage Fees
   and Implications for the US Brokerage Industry, 5 Int’l Real Estate Review 12 (2002).
   30
      Id. at 14.
   31
      Id. at 17.
   32
      Id. at 13.



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   seller and then steer their clients toward homes offering higher commissions.

          107.    As confirmed by economic studies and literature, steering has clear

   anticompetitive effects. Steering deters reductions from the standard commission and enables

   brokers to avoid doing business with, or to retaliate against, buyer brokers who try to compete by

   offering significant discounts.

          108.    Defendants have further exacerbated the anticompetitive effects of steering by

   implementing the requirement that buyer broker commissions be specified in only certain ways

   (i.e., a percentage of the sale price), which makes it easy for individual realtors or agents to see

   and compare offers.

          109.    The economic evidence demonstrates that Defendants’ conduct operates to restrain

   competition in several respects in real estate markets with the result being that home sellers pay

   far more than they otherwise would in a competitive market.

          110.    Defendants’ conspiracy was designed to raise and maintain real estate

   commissions at elevated and supra-competitive levels. Defendants provided uniform training to

   seller brokers to obtain commission rates, on average, in the 5% to 6% range, and to split

   commissions roughly equally with buyer brokers. Because these commission offers are blanket

   offers and agreed to prior to listing the house, buyer brokers receive the same amount in

   commission regardless of the effort made, stifling competition.

          111.    Despite significant changes in technology that should have substantially reduced

   commission charges, Defendants have managed to keep the standard real estate commission

   stabilized at around, on average, 5% to 6% throughout the Class Period.

                                          MARKET POWER

          112.    The relevant service market for the claims asserted herein is the bundle of services




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   provided to home buyers and sellers by residential real estate brokers with MLS access.

   Defendants’ control of the MLSs gives them the ability to impose the Buyer Broker Commission

   Rule and other anticompetitive rules on Class Members. Access to MLSs is critical for brokers to

   compete and provide services to home buyers and sellers in the geographic areas in which those

   MLSs operate.

          113.     One relevant geographic market for the claims asserted herein is the United States.

   Most homes sold in the United States were listed on MLSs by brokers that are subject to the NAR

   MLS rules and ethics standards, as well as similar rules adopted by the non-NAR controlled

   MLSs. From 2015-2022, 86-92% of sellers listed their homes on an MLS.

          114.     Other relevant geographic markets are the local and regional markets that comprise

   the areas served by an MLS. All brokers in each MLS area have the ability to view all other

   listings made on that MLS and to offer and accept blanket offers of compensation within that

   MLS and are subject to the rules imposed by that MLS, including those challenged here.

          115.     The Defendants’ influence over the MLSs gives them the ability to impose the

   Buyer Broker Commission Rule and other anticompetitive rules on Class Members and other

   market participants. Access to the MLSs is critical for brokers to compete and to assist home

   buyers and sellers in the areas in which those MLSs operate. As such, the bundle of services

   provided by residential real estate brokers with MLS access to homebuyers and sellers is a

   relevant service for the claims asserted in this Complaint.

          116.     All brokers in each MLS can view all other listings made on that MLS and to offer

   and accept blanket cooperative compensation offers within that MLS. Likewise, all brokers in

   each MLS are subject to the rules imposed by that MLS, including those challenged here. As

   such, another set of relevant geographic markets are the local and regional markets that are no




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   larger than the area served by an MLS.

          117.    According to the DOJ in 2020, “[T]he membership of an MLS is generally

   comprised of nearly all residential real estate brokers and their affiliated agents in an MLS’s

   service area.”33 More specifically, from 2015-2022, 86-92% of sellers listed their homes on an

   MLS. As such, Defendants, and other conspiring brokers in the areas in which the MLSs operate,

   collectively provide the vast majority of the residential real estate broker services in these areas.

          118.    Defendants and their co-conspirators collectively have market power in each

   relevant market through their membership in and control of the local MLS and their dominant

   share of the local market.

                                      CONTINUOUS ACCRUAL

          119.    During the four years preceding the filing of this Complaint, the Defendants

   repeatedly charged buyer-broker commissions and total commissions that were inflated because

   of the conspiracy. Plaintiff and Class Members were forced to pay these inflated commissions in

   connection with the sale of residential real estate listed on one of the MLSs. Each payment of

   these inflated commissions by Plaintiff and Class Members during the last four years injured them

   and gave rise to a new cause of action for that injury.

          120.    During the past four years, Defendants and their co-conspirators have maintained,

   implemented, and enforced the Buyer Broker Commission Rule and other anticompetitive NAR

   rules nationwide.

                                  CLASS ACTION ALLEGATIONS

          121.    Plaintiff brings this action individually and on behalf of all others similarly




   33
     See Competitive Impact Statement, U.S. v. National Association of REALTORS®, Dec. 10,
   2020, at p.4, available at: www.justice.gov/atr/case-document/file/1344346/download.



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   situated, and as a class action under Federal Rule of Civil Procedure 23(b)(2) and (b)(3), on behalf

   of members of the following Class (“the Class” or “Class Members”):

                   All persons and entities in the United States who, from August 1,
                   2020 through the present used a listing broker affiliated with any
                   Defendant or Co-Conspirator in the sale of a home listed on an MLS
                   and who paid a commission to a cooperating broker in connection
                   with the sale of the home.

           122.    Excluded from the Class are Defendants, their officers, directors, and employees;

   any entity in which Defendant has a controlling interest; and any affiliate, legal representative, heir

   or assign of any Defendant. Also excluded from the Class are any judicial officer(s) presiding over

   this action and the members of his/her/their immediate family and judicial staff, jurors, and

   Plaintiffs’ counsel and employees of their law firms.

           123.    Numerosity. The members of the Class are so numerous as to render their

   individual joinder impracticable. Although the precise number of Class Members is unknown,

   based upon information and belief Plaintiff alleges that the Class contains thousands of members.

   The true number of Class Members is known by Defendants, however, and, thus, may be notified

   of the pendency of this action through electronic mail, first class mail and/or by published notice.

           124.    Adequacy of Representation. Plaintiff will fairly and adequately protect the

   interests of the Class. Plaintiff has retained trial counsel highly experienced in complex litigation

   including complex antitrust class action litigation, and Plaintiff intends to vigorously prosecute

   this action. Plaintiff has no interest in this action that is adverse or antagonistic to the interests of

   the Class.

           125.    Existence and Predominance of Common Questions of Law and Fact. Common

   questions of law and fact exist as to all members of the Class and predominate over any question

   affecting only individual Class Members. These common legal and factual questions, each of




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   which also may be certified under Rule 23(c)(4), include but are not limited to the following:

                          (a)     Whether the Defendants knowingly participated in the conspiracy;

                          (b)     Whether Defendants’ conspiracy caused Plaintiff and Class

                                  Members to pay inflated commissions;

                          (c)     Whether Plaintiff and Class Members were injured as a result of

                                  Defendants’ anticompetitive conduct;

                          (d)     Whether Defendants; anticompetitive conduct was a material cause

                                  of Plaintiff’s and Class Members’ injuries;

                          (e)     Whether the injury can be measured using evidence common to the

                                  Class;

                          (f)     Whether the competitive harm from the conspiracy substantially

                                  outweighs any competitive benefits; and

                          (g)     Whether Plaintiff and Class Members are entitled to restitution

                                  and/or injunctive relief.

          126.    Typicality. Plaintiff’s claims are typical of the claims of the members of the Class

   because their claims arise from the same course of conduct by Defendants and the relief sought

   within the Class is common to each member.

          127.    Superiority. A class action is superior to other available methods for the fair and

   efficient adjudication of this controversy. The prosecution of separate actions by individual

   members of the Class would impose heavy burdens on the Court and Defendants and would create

   a risk of inconsistent or varying adjudications of the questions of law and fact common to the Class.

   A class action, on the other hand, would achieve substantial economies of time, effort, and

   expense, and would assure uniformity of decision as to persons similarly situated without




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   sacrificing procedural fairness or bringing about other undesirable results. Absent a class action,

   it would not be feasible for the members of the Class to seek redress for the violations of law

   alleged herein.

          128.       Furthermore, the Class may be certified under Rule 23 (b)(2) because Defendants

   acted or refused to act on grounds generally applicable to the Class, thereby making appropriate

   final and injunctive relief with respect to the Class as a whole.

                                          ANTITRUST INJURY

          129.       By reason of the alleged violations of the antitrust laws, Plaintiff and the Class

   Members have sustained injury to their businesses or property, having paid buyer broker

   commissions and thus higher total commissions than they would have paid in the absence of

   Defendants’ anticompetitive conduct, and as a result have suffered damages.

          130.       There are no pro-competitive effects of Defendants’ conduct that are not

   substantially outweighed by the anticompetitive effects.

          131.       Economic evidence supports the conclusion that Defendants’ anticompetitive

   conduct has resulted in Class Members paying buyer-broker commissions and total commissions

   that have been inflated to supra-competitive levels above what they would be in a competitive

   market.

          132.       Defendants’ conduct was a material cause of the injuries sustained by Plaintiff and

   Class Members.

          133.       The injuries sustained by Plaintiff and Class Members as a result of Defendants’

   conduct are injuries of the type that the antitrust laws were intended to prevent.

          134.       The injuries sustained by Plaintiff and Class Members as a result of Defendants’

   conduct are injuries of the type that the antitrust laws were intended to prevent.




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                                           CLAIM FOR RELIEF
                                  Violation of Section 1 of the Sherman Act
                                                 15 U.S.C. § 1

           135.      Plaintiff repeats and incorporates by reference each paragraph above as if set forth

   in full herein.

           136.      The purpose of the Sherman Act is to preserve free and unfettered competition in

   the marketplace.

           137.      Beginning more than four years before the filing of this Complaint, and continuing

   into the present, Defendants engaged in a continuing contract, combination, or conspiracy to

   unreasonably restrain interstate trade and commerce in violation of Section 1 of the Sherman Act,

   15 U.S.C § 1.

           138.      The contract, combination, or conspiracy alleged herein has consisted of a

   continuing agreement among Defendants and their co-conspirators to require home sellers to pay

   cooperating brokers and to pay an inflated amount.

           139.      By adopting and implementing rules and regulations that require Class Members

   to make a blanket, unilateral offers of buyer broker compensation when listing a property on an

   MLS, Defendants unlawfully restrain trade by:

                            (a)      Requiring Class Members to pay buyer-broker commissions, a cost

                                     that, in a competitive market, would be paid by the buyer;

                            (b)      Preventing a buyer from seeking to reduce his, her, or their broker’s

                                     commission by making that reduction a condition of a purchase

                                     offer; and

                            (c)      Causing Class Members to pay inflated commissions.

           140.      The conspiracy alleged herein consists of a continuing agreement or understanding




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   among Defendants to adopt, implement, and enforce rules and regulations for any realtor who

   lists a property for sale on an MLS. These rules require all Class Members to agree to make a

   blanket, unilateral offer of buyer broker compensation when listing a property on an MLS:

                          (a)    The Buyer Broker Commission Rule forces Class Members to pay

                                 buyer-broker commissions, a cost that, in a competitive market,

                                 would be paid by the buyer.

                          (b)    NAR Standard of Practice 3-2 prevents a buyer from seeking to

                                 reduce his, her, or their broker’s commission by making that

                                 reduction a condition of a purchase offer.

                          (c)    The Defendants restrain trade by enforcing policies and practices

                                 that artificially inflate commission rates.

          141.    The Defendants’ conspiracy has required sellers nationwide to pay buyer brokers,

   to pay an inflated buyer-broker commission and an inflated total commission and has restrained

   price competition among buyer-brokers. This harm to competition substantially outweighs any

   competitive benefits arising from the conspiracy.

          142.    The Defendants’ conspiracy has caused buyer broker commissions and total

   commissions to be inflated. Plaintiff and the other members of the Class paid these inflated

   commissions during (and before) the last four years in connection with the sale of residential real

   estate. Absent Defendants’ conspiracy, Plaintiff and the other class members would have paid

   substantially lower commissions because buyers would have the incentive to set and negotiate

   buyer-broker prices (and buyer-broker commissions would not be at supra-competitive levels).

          143.    The Buyer Broker Commission Rule and other anticompetitive NAR rules apply

   and have been implemented and enforced by Defendants and co-conspirators nationwide. These




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   rules govern the conduct of local NAR associations, local brokers, and local realtors nationwide.

   Defendants’ conduct alleged herein has inflated buyer-broker commissions nationwide and has

   injured home sellers in those areas and nationwide. NAR, through its members and other co-

   conspirators, and Defendants, through their subsidiaries, franchisees, brokers and other co-

   conspirators, are engaged in interstate commerce, and are engaged in conduct affecting interstate

   commerce throughout the United States.

          144.    Defendants’ conspiracy is a per se violation of Section 1 of the Sherman Act.

          145.    In the alternative, Defendants’ conspiracy violates Section 1 of the Sherman Act

   under the “Rule of Reason” analysis.

          146.    As a direct and proximate result of Defendants’ past and continuing violation of

   Section 1 of the Sherman Act, Plaintiff and the other class members have been injured in their

   business and property and suffered damages in an amount to be proven at trial.

                                      PRAYER FOR RELIEF

          WHEREFORE, Plaintiff, individually and on behalf of members of the Class, requests

   relief and prays for judgment against Defendants as follows:

                         (a)     An Order certifying the Class under the appropriate provisions of

                                 Rule 23 (b)(2) and (b)(3) of the Federal Rule of Civil Procedure;

                         (b)     An Order appointing Plaintiff as the Class representative and

                                 appointing his counsel as Class Counsel;

                         (c)     Declarations that the actions of Defendants, as set forth above, are

                                 unlawful and in violation of the Sherman Act;

                         (d)     An award to Plaintiff and the Class Members for actual damages

                                 trebled in an amount to be determined at trial;




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                               (e)   A permanent injunction under Section 16 of the Clayton Act

                                     enjoining Defendants from (1) requiring that sellers pay the buyer

                                     broker, (2) continuing to restrict competition among buyer brokers

                                     and seller brokers, and (3) engaging in any conduct determined to

                                     be unlawful;

                               (f)   An award to Plaintiff and the Class Members of pre- and post-

                                     judgment interest;

                               (g)   An award to Plaintiff and the Class Members for their costs of suit,

                                     including reasonable attorneys’ fees and expenses; and

                               (h)   An award of such other relief as the Court may deem just and proper.

                                       DEMAND FOR JURY TRIAL

           Plaintiff, on behalf of itself and all others similarly situated, hereby demands a jury trial

   of all issues so triable.

   Dated: August 1, 2024                    Respectfully submitted,

                                            /s/ Ryan J. McGee
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